UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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SHAWN STEWART
                                                            Plaintiff,
                              -against-                                       NOTICE OF MOTION



POLICE OFFICER STEPHANIE DAVIS, SHIELD #
28218, POLICE OFFICER BRIAN HIRSCHMAN,
SHIELD # 22623

                                                        Defendants.

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        Upon the accompanying Declaration of Andrew B. Stoll, dated June 10, 2025, and its

annexed exhibits, the accompanying Memorandum of Law and upon all the prior pleadings and

proceedings herein, Plaintiff, Shawn Stewart, will move this Court, pursuant to Rule 54(d) of the

Federal Rules of Civil Procedure and 42 U.S.C. § 1988(b), at a date and time to be selected by the

Court, for an Order awarding attorneys’ fees and other discretionary costs to Plaintiff in the total

amount of $ 73,240.60, broken down as follows:

           a. Attorneys’ fees of Stoll, Glickman & Bellina, LLP in the amount of $70,605.00 and

           b. Expenses in the amount of $2,635.60;

           c. such other and further relief as is just and proper.

        Answering papers are due by July 2, 2025. Reply papers are due by July 9, 2025.

Brooklyn, NY
June 10, 2025

                                                             Stoll, Glickman & Bellina, LLP
                                                             Attorneys for Plaintiff
                                                             300 Cadman Plaza W., 12th Flr.
                                                             Brooklyn, NY 11201
                                                             (718) 852-3710




                                                             By: __________________________
                                                                    Andrew B. Stoll
